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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    SHEIKH SURAIVA,

4                     Plaintiff,

5                v.                                 18 CV 6628 (JMF)

6    THOMAS CIOPPA and JEFFERSON
     SESSIONS,
7
                      Defendants.
8
     ------------------------------x
9                                                   New York, N.Y.
                                                    July 31, 2018
10                                                  2:30 p.m.

11   Before:

12                            HON. JESSE M. FURMAN,

13                                                  District Judge

14                                  APPEARANCES

15   DAVID RODKIN
          Attorney for Plaintiff
16
     UNITED STATES ATTORNEY'S OFFICE
17   FOR THE SOUTHERN DISTRICT OF NEW YORK
          Attorneys for Defendants
18   BY: BRANDON MATTHEW WATERMAN

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1              (Case called)

2              THE DEPUTY CLERK:     Counsel, please state your name for

3    the record.

4              MR. RODKIN:     David Rodkin.

5              THE COURT:     Good afternoon, Mr. Rodkin.

6              MR. WATERMAN:     Assistant United States Attorney

7    Brandon Waterman on behalf of the government.

8              THE COURT:     Good afternoon, Mr. Waterman.

9              Let me thank you, Mr. Waterman.         First I don't know if

10   you would have been assigned to this case regardless, but in

11   any event, I know that you stepped into it after my chambers

12   contacted you in an effort to get somebody here on behalf of

13   the government.    So I appreciate your stepping in so quickly.

14             I got your letters of yesterday, the joint letter and

15   petitioner's supplemental letter.

16             Mr. Rodkin, I'm going to be blunt.          I don't think this

17   is the proper jurisdiction for this case.

18             MR. RODKIN:     Yes, Judge.

19             THE COURT:     You agree?

20             MR. RODKIN:     No.   I understand.

21             THE COURT:     I've ruled on this issue before in a case

22   cited by Mr. Waterman, Singh v. Holder, 2012 WL 5878677,

23   holding squarely in a case bringing pretty much the same exact

24   nature of claim that the immediate custodian rule applies to

25   challenges of this nature and that jurisdiction is proper only

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1    in the district where the immigrant is detained.

2              I think applying that rule here, it's quite clear to

3    me that this is properly brought in New Jersey and not properly

4    brought here.    I'm open to your arguments to the contrary.            I

5    read the summary of your arguments, and I just don't see how

6    any of them gets you past that problem.         It seems to me that

7    that settles the matter.

8              Mr. Waterman proposes briefing a motion.           Candidly, I

9    think it's going to end up in the same place a month from now,

10   and I'm trying to figure out why your client wouldn't just

11   prefer to have the case transferred and proceed directly in New

12   Jersey or dismissed and you can re-file it in New Jersey.

13             MR. RODKIN:     The problem is she has to --

14             THE COURT:     Can you use the microphone, please.

15             MR. RODKIN:     The problem is she has to find new

16   counsel in New Jersey, and that's very difficult for her.

17             THE COURT:     I certainly understand that, and I'm

18   sympathetic.    I understand from your letter that you're not

19   admitted in New Jersey and, therefore, couldn't represent her

20   there.

21             I imagine you could help her find new counsel, and the

22   fact that you're not admitted in New Jersey is not a basis for

23   me to exercise jurisdiction in a case where the law says that I

24   don't have jurisdiction.

25             I think in fact my order misspoke in referring to it

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1    as an issue of venue.      I think it's really a jurisdictional

2    issue.    I just don't see the basis to proceed here.

3               MR. RODKIN:    Okay, Judge.

4               THE COURT:    Would you prefer that I transfer it, or

5    would you prefer that I dismiss it?

6               MR. RODKIN:    I'd prefer you transfer it, Judge.

7               THE COURT:    Mr. Waterman, I assume no objection to

8    granting the relief that you're going to seek this week?

9               MR. WATERMAN:    No objection, your Honor.

10              THE COURT:    I am going to transfer it pursuant to my

11   opinion in Singh.    I do conclude that I lack jurisdiction and

12   that jurisdiction is proper only in the jurisdiction of New

13   Jersey.    To save time and trouble, I'll order that the case be

14   transferred to that district.       I'll enter an order districting

15   the clerk to do so forthwith.

16              MR. RODKIN:    What district is that in New Jersey

17   you're transferring it to, Judge?

18              THE COURT:    There is only one district in New Jersey.

19              MR. RODKIN:    The district court in New Jersey.

20              THE COURT:    Correct.   I don't know what courthouse it

21   is.   I don't know how they do things over there.           I'll leave

22   that to you all to figure out.

23              MR. RODKIN:    Okay.

24              THE COURT:    Thank you very much.      We are adjourned.

25              MR. WATERMAN:    Thank you, your Honor.

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